
74 So.3d 715 (2011)
BASELINE CONSTRUCTION &amp; RESTORATION OF LOUISIANA, L.L.C.
v.
FAVROT REALTY PARTNERSHIP d/b/a Chateaux Dijon Apartments, Chateaux Dijon Land, L.L.C., d/b/a Chateaux Drjon Apartments, CDJ Apartments, L.L.C. d/b/a Chateaux Dijon Apartments, as Successors in Interest to Chateaux Dijon Land L.L.C., B &amp; S Favrot, L.L.C., et al.
No. 2011-OC-1769.
Supreme Court of Louisiana.
October 14, 2011.
Denied.
